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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
JOLYNE NERISSA JOHNSON,                                                :
                                                                       :
                                    Plaintiff,                         :
                                                                       :   20-CV-8191 (JMF) (SN)
                  -v-                                                  :
                                                                       :          ORDER
COMMISSIONER OF SOCIAL SECURITY,                                       :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

       Pursuant to the Court’s Order dated October 7, 2020, the parties were required to confer
regarding whether they are willing to consent, under 28 U.S.C. § 636(c), to conducting all
proceedings before the assigned Magistrate Judge. See ECF No. 5. If both parties consent, they
were required to email to Furman_NYSDChambers@nysd.uscourts.gov a fully executed Notice,
Consent, and Reference of Civil Action to a Magistrate Judge Form within two weeks of the date
on which Defendant enters an appearance. If either party does not consent, they were to file, by
the same date, a joint letter advising the Court that the parties do not consent. To date, the parties
have not satisfied their obligations. As a courtesy, the parties’ deadline is hereby EXTENDED,
nunc pro tunc, to November 16, 2020. The Clerk of Court is directed to mail a copy of this
Order to Plaintiff.

        SO ORDERED.

Dated: November 9, 2020                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
